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                  Exhibit 4
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                                                                                                                                                       US007269253B1


(12) Ulllted States Patent                                                                                          (10) Patent N0.:                                US 7,269,253 B1
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        7, 2002.                                                                                             Primary ExamineriBenny Q. Tieu
                                                                                                             (74) Attorney, Agent, or FirmiMilde & Ho?berg LLP
(51) Int. Cl.
     H04M 3/00                                    (2006.01)                                                  (57)                                        ABSTRACT
        H04M 5/00                                 (2006.01)                                                                            .       .                                     .     .
(52) us. Cl. ........................... .. 379/265.11; 379/266.01                                           A °°mmum9an9ns System and method’ Whefem a mummy
         _                     _          _                                                                  of communications are received, each having associated
(58)    Field of Classi?cation Search ......... .. 379/265.02,                                               classi?cation information, information representing charac
                    379/265.06, 265.11, 265.12, 266.01, 309                                                  teristics of at least three potential targets are stored; and an
        See application ?le for complete search history.                                                     optimum target for each communication based on the com
(56)                          References Cited                                                               munication classi?cation, and target characteristics is deter
                                                                                                             mined in a combinatorial optimization. The optimization
                  U-S- PATENT DOCUMENTS                                                                      preferably comprises a cost bene?t optimization. Predicted
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                                                                     call is placed to a call center
                                                                                   301

                                                                            caller identified
                                                                                  302


                                                                        caller record retrieved
                                                                                  303


                                                                     call characteristics identified
                                                                                  304


                                                                        retrieve agent prclilee
                                                                                  305


                                                                                    is                                   .                 ,
                                                                      call center near capacity?         m        use sk'n'based mmmg
                                                                                                                           307
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                                                                                   Ne
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                                                                     use training and skill based I          optimize cost-utility function over]
                                                                              routing 311                             short term 308
                                                                                                                              i
                                                                    optimize coat‘utility function for                  select agent
                                                                    long term call center operation                          309
                                                                                  312

                                                                                                                    route call to agent
                                                                              select agent                                  310
                                                                                  313

                                                                    route call to agent with training
                                                                         agent available 314
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     call is placed to a call center
                   301
                    V

            caller identified
                  302


        caller record retrieved
                  303


     call characteristics identified
                   304
                        I

        retrieve agent profiles
                  305



      call center near capacity?             Yes+        use skm'tgzsfd routmg

                   No
                    i
      use training and skill based                  optimize cost-utility function over
              routing 311                                    short term 308
                        V                                            I

    optimize cost-utility function for                        Se|ect agent
    long term call center operation                                309
                  312

                    ‘                                      route call to agent
              select agent                                         310
                  313


    route call to agent with training
         agent available 314




                                           Fig. 1
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       outbound call is cued by an
        outbound call center 401
                      I

             callee identified
                   402


          callee record retrieved
                    403
                      I

      call characteristics predicted
                    404

                      V                                              -

          retrieve agent profiles                          expected Incremental‘
                    405                                        cost of agent
                                                                   415

       use training and skill based
               routing 411                                 expected incremental
                                                              utility of agent
                                                                   416
     optimize cost-utility function for
     long term call center operation
                    412                                              .
                                                           expected Incremental
                                                              cost of trainer
               select agent                                        417
                    413

                            .       .   .                  expected incremental
     route call to agent (wlth training                       training Utility
     agent available if a training call)                           418
                    414




                                            Fig. 2
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                               1                                                                     2
      TELEPHONY CONTROL SYSTEM WITH                                      This architecture typically alloWs the computing platform
         INTELLIGENT CALL ROUTING                                      to run a modern, non-deterministic operating system, such as
                                                                       WindoWs 2000, Without impairing the real-time perfor
                RELATED APPLICATIONS                                   mance of the system as a Whole, since the communications
                                                                       control functions are not as time critical as the voice
   The present application is a continuation of US. patent             processing functions. HoWever, as is Well knoWn, non
application Ser. No. 10/385,389, ?led Mar. 7, 2003, now                deterministic operating systems, such as WindoWs 2000, are
US. Pat. No. 7,023,979 (Apr. 4, 2006), Which claims bene?t             subject to signi?cant latencies, especially When multiple
of priority from US. Provisional Patent Application No.                tasks are executing, and When contention exists betWeen
60/363,027, ?led Mar. 7, 2002, the entirety of Which are               resources, especially hard disk access and virtual memory.
expressly incorporated herein by reference.                            Therefore, in order to assure that system operation is unim
                                                                       peded by inconsistent demands on the platform, typically the
                    TECHNICAL FIELD                                    host computer system for the telephony peripherals is “dedi
                                                                       cated”, and attempts are made to eliminate extraneous
  The present invention relates generally to computer inte             softWare tasks. On the other hand, externaliZing essential
grated telecommunications systems and more particularly to             functions imposes potential latencies due to communica
a system and method employing an intelligent sWitching                 tions and external processing.
architecture.
                                                                       The Call Center
         BACKGROUND OF THE INVENTION                              20
                                                                         A “call center” is an organiZation of people, telecommu
                                                                       nications equipment and management softWare, With a mis
  The description of the invention herein is intended to               sion of ef?ciently handling electronic customer contact. A
provide information for one skilled in the art to understand           typical call center must balance competing goals. Customers
and practice the full scope of the invention, but is not               should experience high quality and consistent service as
intended to be limiting as to the scope of available knoWl        25
                                                                       measured, for example, by hoW long the customer’s call
edge, nor admit that any particular reference, nor the com             must Wait in queue before being ansWered and receiving
binations and analysis of this information as presented                satisfactory service. At the same time, this service should be
herein, is itself a part of the prior art. It is, in fact, a part of provided to make ef?cient use of call center resources.
the present invention to aggregate the beloW cited informa           Strategies for Call Center Management
tion as a part of the disclosure, Without limiting the scope 30         “Workforce management” systems provide important
thereof. All of the beloW-identi?ed references are therefore         tools for meeting the goals of the call center. These systems
expressly incorporated herein by reference, as if the entirety         generate forecasts of call volumes and call handling times
thereof Was recited completely herein. It is particularly noted
                                                              based on historical data, to predict hoW much staff will be
that the present invention is not limited by a narroW or      needed at different times of the day and Week. The systems
precise discussion herein, nor is it intended that any dis 35 then create schedules that match the staf?ng to anticipated
claimer, limitation, or mandatory language as applied to any  needs.
embodiment or embodiments be considered to limit the            Typically, an Automatic Call Distribution (ACD) function
scope of the invention as a Whole. The scope of the invention    is provided in conjunction With a computeriZed Private
is therefore to be construed as the entire literal scope of the  Branch Exchange (PBX). This ACD function enables a
claims, as Well as any equivalents thereof as provided by 40 group of agents, termed ACD agents, to handle a high
laW. It is also understood that the title, abstract, ?eld of the volume of inbound calls and simultaneously alloWs a queued
invention, and dependent claims are not intended to, and do      caller to listen to recordings When Waiting for an available
not, limit the scope of the independent claims.                  ACD agent. The ACD function typically informs inbound
   Real-time communications are typically handled by dedi        callers of their status While they Wait and the ACD function
cated systems Which as sure that the management and control 45 routes callers to an appropriate ACD agent on a ?rst-come
operations are handled in a manner to keep up With the         ?rst-served basis.
communications process, and to avoid imposing inordinate                 Today, all full-featured PBXs provide the ACD function
delays. In order to provide cost-effective performance, com            and there are even vendors Who provide sWitches speci?
plex processes incidental to the management or control of cally designed to support the ACD function. The ACD
the communication are typically extemaliZed. Thus, the 50 function has been expanded to provide statistical reporting
communications process is generally unburdened from tasks tools, in addition to the call queuing and call routing
requiring a high degree of intelligence, for example the               functions mentioned above, Which statistical reporting tools
evaluation of complex algorithms and real time optimiZa                are used to manage the call center. For example, ACD
tions. One possible exception is least cost routing (LCR), historical reports enable a manager to identify times: (a)
Which seeks to employ a communications channel Which is 55 When inbound callers abandon calls after long Waits in a
anticipated to have a loWest cost per unit. In fact, LCR   queue because, for example, the call center is staffed by too
schemes, When implemented in conjunction With a commu      feW ACD agents and (b) When many ACD agents are idle.
nications sWitch, either employ simple predetermined rules, In addition, ACD forecasting reports, based on the historical
or externaliZe the analysis.                                reports, alloW the manager to determine appropriate staf?ng
  Modern computer telephone integrated systems typically 60 levels for speci?c Weeks and months in the future.
employ a general purpose computer With dedicated voice
communication hardWare peripherals, for example boards      Queue Management
made by Dialogic, Inc. (Intel Corp.). The voice communi                  ACD systems experience high traf?c periods and loW
cation peripherals execute the loW level processing and     tra?ic periods. Consequently, ACD systems must be capable
sWitching of the voice channels, under control from the 65 of automating tWo major decisions. The ?rst major decision
general purpose processor. Therefore, the voice-information may be referred to as the “agent selection decision,” i.e.,
is generally not communicated on the computer bus.                     When more than one agent is available to handle the next
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transaction, Which agent should be chosen? The second                outbound calling, or a combination of each. The skill-based
major decision may be referred to as the “transaction selec          routing algorithms may also be used to anticipate call center
tion decision,” i.e., When more than one transaction is              needs, and therefore be used to optimally schedule agents for
Waiting for the next available agent and an agent becomes            greatest ef?ciency, loWest cost, or other optimiZed variable.
available, Which transaction should the agent handle?                   In the case of multi-skill criteria, the optimality of selec
   One approach to the agent selection decision is to set up         tion may be based on a global minimiZation of the cost
a sequencing scheme, so that the sWitch of the ACD system            function or the like.
folloWs the same sequence of agents until the ?rst available           The longest-idle-agent approach and the FIFO approach
agent in the sequence is found. The concern With this                function Well in applications having little variation in the
approach is that it creates “hot seats,” i.e. an inequitable         types of transactions being handled by the ACD agents. If all
distribution of inbound calls to ACD agents Who are high in          agents can handle any transaction, these approaches provide
the sequence. Most current ACD systems solve the agent               a suf?ciently high level of transactional throughput, i.e., the
selection decision by using a longest-idle-eligible-agent            number of transactions handled by the call center in a
approach to provide a more equitable distribution of trans           particular time interval. HoWever, in many call center envi
actions.                                                             ronments, the agents are not equally adept at performing all
   There are also different approaches to the transaction            types of transactions. For example, some transactions of a
selection decision in Which there are more available trans           particular call center may require knoWledge of a language
actions than there are ACD agents. One approach is to create         other than the native language of the country in Which the
one or more ?rst-in, ?rst-out (FIFO) queues. Under this              call center is located. As another example, some transactions
approach, each transaction may be marked With a priority 20 may require the expertise of “specialists” having training in
level by the sWitch of the ACD system. When an agent            the speci?c ?eld to Which the transaction relates, since
becomes available, the transaction With the highest priority    training all agents to be knoWledgeable in all areas Would be
is routed to the agent. If several calls of equal priority are  cost-prohibitive. For ACD applications in Which agents are
Waiting in a queue, the call Which has been Waiting the         not equally adept at performing all transactions, there are a
longest is routed to the available agent. If the call center 25 number of problems Which at least potentially reduce trans
conducts outbound transactions, each transaction is similarly   actional throughput of the call center. Three such problems
submitted to a FIFO queue With a priority designation, With     may be referred to as the “under-skilled agent” problem, the
the sWitch routing transactions from the queue to the agents.   “over-skilled agent” problem, and the “static grouping”
                                                                     problem.
Queue/Team Management                                           30     The under-skilled agent problem reduces transactional
  Calls that arrive at a call center generally are classi?ed
                                                                     throughput When the sWitch routes transactions to ACD
into “call types” based on the dialed number and possibly
                                                                     agents Who do not have su?icient skills to handle the
other information such as calling number or caller responses
                                                                     transactions. For example, a call may be routed to an
to prompts from the netWork. The call center is typically
                                                                     English-only speaking person, even though the caller only
served by an automatic call distributor (ACD), Which iden
                                                                     speaks Spanish. In another example, the transaction may
ti?es the call type of each incoming call and either delivers
                                                            relate to product support of a particular item for Which the
or queues it. Each call type may have a separate ?rst-in
                                                            agent is not trained. When this occurs, the agent Will
?rst-out queue in the ACD. In most existing call centers, the
                                                            typically apologiZe to the customer and transfer the call to
agents ansWering calls are organiZed into one or more
                                                            another agent Who is capable of helping the customer.
“teams,” With each team having primary responsibility of 40 Consequently, neither the agent’s nor the customer’s time is
the calls in one or more queues. This paradigm is sometimes
referred to as “queue/team.”
                                                                     ef?ciently utiliZed.
                                                                       Inef?cient utiliZation is also a concern related to the
  In the queue/team model, scheduling for each team can be
                                                                     over-skilled agent problem. A call center may have ?xed
done independently. Suppose, for example, that the call
center handles calls for sales, service, and billing, and that 45
                                                                  groupings of agents, With each group having highly trained
                                                                  individuals and less-experienced individuals. Call-manage
each of these call types is served by a separate team. The
                                                                     ment may also designate certain agents as “specialists,”
schedule for sales agents Will depend on the forecast for
                                                                     since it Would be cost prohibitive to train all agents to be
sales call volume and on various constraints and preferences
                                                                     experts in all transactions. Ideally, the highly skilled agents
applicable to the agents being scheduled, but this schedule          handle only those transactions that require a greater-than
is not affected by the call volume forecast for service or
                                                                50   average skill level. HoWever, if a signi?cant time passes
billing. Further, Within the sales team, agents are typically        Without transactions that require highly skilled agents, the
considered interchangeable from a call handling vieWpoint.
                                                                     agents may be assigned to calls for Which they are over
Thus, Within a team, schedule start times, break times and
                                                                     quali?ed. This places the system in a position in Which there
the like, may be traded freely among agents in the team to
                                                              is no quali?ed agent for an incoming call requiring a
satisfy agent preferences Without affecting scheduled call 55 particular expertise because the agents having the expertise
coverage. See, US. Pat. No. 5,325,292, expressly incorpo      are handling calls that do not require such expertise. Again,
rated herein by reference.
                                                                     the transactional throughput of the call center is reduced.
  In a queue/team environment, When a neW call arrived,
                                                                        Current ACD systems alloW agents to be grouped accord
the ACD determines the call type and places it in the queue,
                                                                     ing to training. For example, a product support call center
if all agents are busy, or allocates this call to the team
member Who had been available the longest.
                                                                60   may be divided into four ?xed, i.e., “static,” groups, With
                                                                     each group being trained in a different category of products
Skill-Based Routing                                                  sold by the company. There are a number of potentially
   Skill-based routing of agents is a Well knoWn principle, in     negative effects of static grouping. Firstly, the call center
Which the agent With the best match of skills to the problem       management must devise some con?guration of agents into
presented is selected for handling the matter. Typically, these 65 groups. This may be a costly process requiring extensive
matters involve handling of telephone calls in a call center,      analysis and data entry. Secondly, the con?guration that is
and the technology may be applied to both inbound and              devised is not likely to be optimal in all situations. The pace
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and mix of transactions Will change during a typical day. At      provide no help over a given span of time, might be 100%
different times, the adverse effects of the under-skilled agent   available for calls of that type, or might be available part of
problem and the adverse effects of the over-skilled agent         the time and handling other call types for another part of
problem Will vary With respect to the transactional through       time.
put of the call center. Thirdly, When a neW product is               All agents having a particular combination of skills may
released, the devised con?guration likely Will be less valu       be deemed a “skill group.” A central problem of skills-based
able. In response to changes in the size, pace and mix of the     scheduling is then ?nding a Way to predict What fraction of
transaction load over the course of time, call management         scheduled agents from each skill group Will be available to
must monitor and adjust the performance of the current            each call type during each time interval being scheduled. If
grouping con?guration on an ongoing basis. When trends            these fractions are knoWn, then the effect of different agent
are detected, the grouping con?guration should be changed.        schedules can be generated. Unfortunately, it is dif?cult or
This requires the time and attention of call center managers      impossible to calculate the skill group availability fractions
and supervisors. Again, the transactional throughput is           directly. These functions depend on the relative and ab solute
reduced.                                                          call volumes in each call type, on the particulars of the
  It is thus knoWn in the prior art to provide ACD systems        skills-based call distribution algorithms in the ACD, and on
that depart from the queue/team model described above.            the skills pro?les of the total scheduled agent population.
Calls are still categorized into call types. In place of queues   Particularly as ACD skills-based routing algorithms them
for the call types, hoWever, queues associated With “skills”      selves evolve and become more sophisticated, the factors
are provided. The ACD’s call distribution logic for the call   affecting skill group availability become too complex for
type determines Which queue or queues a call Will occupy at 20 direct analysis. One proposed solution provides a feedback
various times before it is ansWered. Agents are not organized  mechanism involving call handling simulation and incre
into teams With exclusive responsibility for speci?c queues.   mental scheduling, to schedule agents in a skills-based
Instead, each agent has one or more identi?ed “skills”         routing environment. See, US. Pat. No. 6,044,355,
corresponding to the skills-based queues. Thus, both a given       expressly incorporated herein in its entirety.
call and a given agent may be connected to multiple queues 25        In accordance With this “skills-based scheduling” method,
at the same time. Agent skills designations may be further         a computer implemented tool is used to determine an
quali?ed, for example, as “primary” or “secondary” skills, or      optimum schedule for a plurality of scheduled agents in a
With some other designation of skill priority or degree of         telephone call center, each of the plurality of scheduled
skill attainment. The ACD call distribution logic may take         agents having a combination of de?ned skills. The plurality
the skill priority levels into account in its call distribution 30 of scheduled agents are organized into “skill groups” With
logic.                                                             each group including all scheduled agents having a particu
  In a skills-based routing environment, the “matching” of        lar combination of skills. The method begins by generating
calls to agents by the ACD becomes more sophisticated and    a plurality of net staf?ng arrays, each net stalf array asso
thus complicated. Agents Who have more than one skill no     ciated With a given call type and de?ning, for each time
longer “belong” to a Well-de?ned team that handles a 35 interval to be scheduled, an estimate of a difference betWeen
restricted set of calls. Instead, the skills de?nitions form a given staffing level and a staf?ng level needed to meet a
“implicit” teams that overlap in complex Ways. If, for            current call handling requirement. In addition to the net
example, a call center has 10 skills de?ned, then agents          staf?ng arrays, the method uses a plurality of skills group
could in principle have any of 1024 possible combinations         availability arrays, each skills group availability array asso
(210) of those skills. Each skill combination could be eligible 40 ciated With the given call type and de?ning, for each
to handle a different subset of the incoming calls, and the       combination of skill group and time interval to be scheduled,
eligible subset might vary With time of day, number of calls      an estimate of a percentage of scheduled agents from each
in queue, or other factors used by the ACD in its call routing    skill group that are available to handle a call. According to
decisions.                                                        the method, the plurality of arrays are used to generate a
  Today, call center managers Want to connect a caller to an 45 proposed schedule for each of the plurality of scheduled
ACD agent having exactly the right skills to serve the caller.    agents. Thereafter, a call handling simulation is then run
HoWever, “skills based” ACD agent groups are often small          against the proposed schedule using a plurality of ACD call
and, as a result, Whenever an inbound call arrives, all such      distribution algorithms (one for each call type being sched
“skills based” ACD agents may be busy. In such instances,         uled). Based on the results of the call handling simulation,
the ACD function can take call back instructions from the 50 the net staf?ng arrays and the skills availability arrays are
caller and the ACD function can manage the call back         re?ned to more accurately de?ne the net staf?ng and skills
functions, for example, by assigning such calls, in accor       usage requirements. The process of generating a schedule
dance With the caller instructions, to a “skills based” ACD     and then testing that schedule through the simulator is then
agent Whenever one becomes available.                           repeated until a given event occurs. The given event may be
  Scheduling of agents in a skills-based environment is thus 55 a determination that the schedule meets some given accep
a much more dif?cult problem than it is in a queue/team         tance criteria, a passage of a predetermined period of time,
environment. In a skills-based environment, call types can      a predetermined number of iterations of the process, or some
not be considered in isolation. Thus, for example, a heavy      combination thereof. A proposed schedule is “optimized”
volume of Service calls might place higher demands on       When it provides an acceptable call handling performance
multi-skilled agents, causing an unforeseen shortage of 60 level and an acceptable staf?ng level in the simulation. Once
coverage for Billing calls. Further, agents With different  the proposed schedule is “optimized,” it may be further
skills cannot be considered interchangeable for call han    adjusted (Within a particular skill group) to accommodate
dling. Thus, trading lunch times betWeen a Sales-only agent agent preferences.
and a multi-skill agent might lead to over-staf?ng Sales at   US. Pat. No. 5,206,903 to Kohler et al. describes ACD
noon While under-staffing Service at 1:00 pm. This Would 65 equipment Which uses static grouping. Each static group of
lead to undesirable results. Moreover, With respect to the        agents is referred to as a “split,” and each split is associated
needs of a particular call type, a multi-skilled agent might      With a different queue. The agents are assigned to splits
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according to skills. Within a single split, the agents may be             A public branch exchange (PBX) type ACD such as a
limited to knowledge of different subtypes of transactions.             De?nity® ACD available from AT&T functions as a con
Preferably, there is at least one agent in each split Who is            ventional PBX and further functions as an ACD to distribute
trained to handle calls of any of the subtypes Within the               incoming calls to local agents connected to the PBX.
particular split. This “expert” may also be trained to effi             Another type of ACD consists of the utilization of an
ciently handle calls of other types, i.e., other splits. Each           electronic telecommunication sWitch such as a 5ESS®
agent possesses up to four skill numbers that represent                 sWitch available from AT&T Which is capable of providing
various abilities of the agent With respect to handling                 ACD service When supposed by ACTs coupled to the sWitch.
transactions related to subtypes and types of transactions.             Both types of ACD typically function as independent sys
The ACD equipment assigns each incoming call three pri                  tems Which handle incoming calls and make internal deci
oritized skill numbers that estimate skill requirements of the          sions concerning Which agent Will receive a given call. Both
incoming call. The skill numbers of the incoming call are               types of ACD systems are capable of generating statistical
considered “prioritized,” since they are vieWed sequentially            reports Which can be monitored by a Workstation coupled to
in searching for a match of the call With an agent, so that the         the ACD system to alloW a supervisor to monitor call
second skill number of the call is unnecessary if a match is            handling statistics. Such data typically represents an average
found using the ?rst prioritized skill number. The incoming             of statistics for a given system.
call is assigned the one, tWo or three prioritized skill                  Telephone call centers that handle calls to toll-free “800”
numbers and is placed in the appropriate queue of the          numbers are Well-knoWn in the art. Typically, a company
appropriate static group of agents. A search is made among     may have many call centers, all ansWering calls made to the
the available agents for an agent-skill number that matches 20 same set of 800 numbers. Each of the company’s call centers
the ?rst skill number of the call. If no match is found after           usually has an automatic call distributor (ACD) or similar
a predetermined time delay, the second prioritized skill                equipment capable of queuing calls. ACD management
number of the call is used to ?nd a match. If no match is         information systems keep statistics on agent and call status,
found after a second predetermined time delay, the third          and can report these statistics on frequent intervals. Such
prioritized skill number is considered. Then, if no match is 25 capabilities are in use today for centralized reporting and
still found, the ACD equipment of Kohler et al. expands the       display of multi-location call center status.
search of available agents to other groups of agents.                In such systems, the company Will Want to distribute the
   While the Kohler et al. patent does not directly address the   calls to its call centers in a Way that Will optimally meet its
problems associated With static groups, it does consider the      business goals. Those goals might include loW cost of call
skills of the individual agents. The prioritized skill numbers 30 handling, ansWering most calls Within a given amount of
assigned to the incoming calls are logically ordered. The         time, providing customized handling for certain calls, and
patent refers to the ?rst skill number of a call as the primary   many others. It is also knoWn in the prior art that certain call
call-skill indicator. This primary indicator is used to de?ne     routing criteria and techniques support a broad range of
the minimal skill level that is required for an agent to          business goals. These include “load balancing,” “caller
competently handle the call. Consequently, if a match is 35 segmentation” and “geographic routing.” Load balancing
made With the primary indicator, the ACD agent may not be         refers to distribution of calls so that the expected ansWer
over-skilled or under-skilled. HoWever, if the search is          delay for neW calls is similar across all the call centers. If
unsuccessful, the secondary call-skill indicator is utilized.     other considerations do not dictate otherwise, load balancing
The search for a match to the secondary indicator may cause is desirable because it provides optimum ef?ciency in the
the call to be routed to an agent having more than the 40 use of agents and facilities, and it provides the most con
minimal required skill. The third prioritized skill number              sistent grade of service to callers. In special situations it
that is assigned to the incoming call is referred to as the             might be desirable to unbalance the load in a particular Way,
“tertiary” call-skill indicator. The tertiary indicator is yet          but control over the distribution of call load is still desired.
another skill level beyond What is minimally required to                   If the caller’s identity can be inferred from the calling
competently handle a call. Since the tertiary indicator is 45 number, caller-entered digits, or other information, that
utilized only if a match is not found for either of the primary identity may in?uence the choice of destination for the call.
or secondary indicators, an overly skilled agent of the         Call routing based on such information is referred to as
appropriate group Will handle the call only if that agent is the        caller segmentation. Also, it has been found desirable for
only available capable agent. Thus, more highly skilled                 particular call centers to handle calls from particular geo
agents are assigned only When their skills are required, or no 50 graphic areas. The motivation may be to minimize call
lesser-skilled agent is available to handle the call.             transport costs, to support pre-de?ned call center “territo
   See, US. Pat. Nos. 6,529,870; 6,522,726; 6,519,459;            ries”, or to take advantage of agents speci?cally trained to
6,519,259; 6,510,221; 6,496,568; 6,493,696; 6,493,432;            handle calls from given locations. Such techniques are
6,487,533; 6,477,494; 6,477,245; 6,470,077; 6,466,909;                  knoWn as geographic routing.
6,466,654; 6,463,299; 6,459,784; 6,453,038; and US. Pub            55     The interexchange carriers Who provide 800 service today
lished Patent Application No. 2003/0002646.                             generally support some form of “routing plan” to help
                                                                        achieve load balancing, caller segmentation and geographic
Group Routing                                                           routing. Typically these routing plans alloW 800 call routing
  Various types of conventional automatic distributors                  based on time of day, day of Week, the caller’s area code,
(ACDs) are available to distribute incoming calls to a group.      60   caller-entered digits, and ?xed percentage allocations. Pre
Reservation and information services may be provided by                 dominately, hoWever, the routing plans supported by the
large companies, such as major airlines, and may consist of             carriers are static in the sense that they do not automatically
geographically separated groups of agents that ansWer                   react to unexpected variations in incoming call volume or
incoming calls distributed to the agents by separate ACDs.              distribution, nor to actual call delays being experienced at
Agent communication terminals (ACTs) Which are con                 65   each destination. Reaction to changing conditions is done
nected to an ACD are utilized by the agents to process                  via manual modi?cation of the plan, on a time scale of
incoming calls routed to a particular ACT by the ACD.                   minutes or hours.
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  Recent service offerings from some interexchange carri                call (e.g., answering only incoming calls). For example,
ers offer some degree of automatic reaction to changing                 during an outbound campaign, the system placing the out
conditions. One such offering, called “alternate termination            bound calls and controlling the rate at which the calls are
sequence” or “ATS” (from AT&T), allows customers to                     placed, e.g., a so-called predictive dialer, relies on the
establish maximum numbers of calls to be queued for each                availability of the agent to handle an answered call. If the
destination, with a pre-de?ned alternative when a primary               system places outbound calls expecting the agent to be
destination is overloaded. Another offering, referred to as             available, but the agent instead places their own call to
“intelligent routing control” or “IRC” (from MCI), allows an            another agent or a supervisor, or has an incoming call
ACD to refuse a call from the network, again resulting in               connected to them, the outbound system may not have an
pre-de?ned alternative call handling. A third kind of service,          agent available to handle an answered outbound call. Addi
AT&T’s Intelligent Call Processing, lets the interexchange              tionally, if an agent is assigned to handle incoming calls, but
network pass call-by-call data to a computer.                           instead places a call to another agent or listens to voice mail
  In a conventional ACD, phone calls are processed on a                 messages, the number of queued incoming calls may
?rst-in, ?rst-out basis: the longest call waiting is answered           increase, thereby increasing the waiting time experienced by
by the next available agent. Answering calls across multiple            the callers.
automated call distributors (ACD) is typically done on a                   One document which provides considerable information
?rst-in, ?rst-out basis dependent upon time of receipt of the           on intelligent networks is “ITU-T Recommendation Q1219,
call by each ACD, whether the call is directly connected or       Intelligent Network User’s Guide for Capability Set 1”,
forwarded.                                                        dated April, 1994. This document is incorporated herein by
    Another call distribution scheme is provided in Gechter et 20 reference.
al., U.S. Pat. No. 5,036,535. This patent discloses a system         One known system proposes a call-management method
for automatically distributing telephone calls placed over a      and system for distributing calls to a plurality of individuals,
network to one of a plurality of agent stations connected to      such as automatic call distribution (ACD) agents, which
the network via service interfaces, and providing status          routes calls to the individuals based upon a correlation of
messages to the network. Gechter et al.’s disclosed system 25 attributes of the individuals with calls that are tagged with
includes means for receiving the agent status messages and        identi?cation of abilities that are advantageous to ef?ciently
call arrival messages from the network, which means are           processing the calls. That is, for each call that is to be
connected via a network service interface to the network.               distributed, one or more skills that are relevant to ef?cient
Routing means responsive to the receiving means is pro           handling of the call are determined and then used to route the
vided for generating a routing signal provided to the network 30 call to an appropriate individual. In addition, call manage
to connect the incoming call to an agent station through the     ment preferences may also be accommodated.
network. In the system disclosed in Gechter et al, when an
incoming call is made to the call router, it decides which           Personalization and Collaborative Filtering
agent station should receive the call, establishes a call with         Known systems allow personalization or prediction of
that agent station, and then transfers the original call onto the 35 user type, preferences or desires based on historical data or
second call to connect the incoming caller directly to the           limited information available. These known systems have
agent station and then drops out of the connection.                  been applied to a number of different domains.
   U.S. Pat. No. 5,193,110 issued to Jones et al discloses an          In a non-collaborative personalization system, the avail
integrated services platform for a telephone communications   able information about a person is analyzed, and based on
system which platform includes a plurality of application 40 this information, conclusions are drawn. In a collaborative
processing ports for providing different types of information system, the available information is used to associate the
services to callers. In Jones et al’s disclosed system, a master        person with a group of other users having common
control unit and a high speed digital switch are used to                attributes. By grouping users, the data sets are more dense,
control processing of incoming phone calls by recognizing               permitting more detailed inferences to be drawn. The groups
the type of service requested by the caller and then routing 45         are de?ned by mapping user attributes in a multidimensional
the call to the appropriate processing port. The Jones et al            space, and then de?ning clusters of users having correlated
system is disclosed as an adjunct to current switching                  traits. Further, the use of data relating to past transactions of
technology in public and private networks.                              other users allows prediction of outcomes and sequences of
                                                                        actions, without having a true past example of the activity
Intelligent Call Management                                        50   from that particular user.
  Call centers are also used to make outbound calls, for                  The following references are expressly incorporated
example for telemarketing. Agents making outbound calls,                herein by reference: U.S. Pat. Nos. 6,418,424; 6,400,996;
referred to as outbound agents, are typically separate from             6,081,750; 5,920,477, 5,903,454, 5,901,246; 5,875,108;
ACD agents handling inbound calls and call center software    5,867,386; 5,774,357; 6,529,891; 6,466,970; 6,449,367;
separately manages outbound call lists for outbound agents 55 6,446,035; 6,430,558; 6,412,012; 6,389,372; 6,356,899;
to ensure that each outbound agent wastes little time in                6,334,131; 6,334,127; 6,327,590; 6,321,221; 6,321,179;
dialing or in performing overhead operations.                 6,317,722; 6,317,718;             6,266,649; 6,256,648; 6,253,193;
   A call center typically has multiple agents for answering  6,236,980; 6,236,978;             6,185,683; 6,177,932; 6,170,742;
incoming calls and placing outgoing calls. A call center may  6,146,026; 6,138,119;             6,112,186; 6,112,181; 6,078,928;
also have agents participating in outgoing call campaigns, 60 6,016,475; 5,999,908;             5,560,011; 6,484,123; 6,480,844;
typically in conjunction with an outbound call management     6,477,246; 6,421,709;             6,405,922; 6,353,813; 6,345,264;
system. Each agent may be assigned to a particular group,               6,314,420; 6,308,175; 6,144,964; 6,029,161; 6,018,738;
such as an inbound group or an outbound group. Agents can               6,016,475; 6,006,218; 5,983,214; 5,867,799; and 5,790,935.
also be assigned to a supervisor team, which represents             See also references cited in Us. patent application Ser. No.
multiple agents that report to the same supervisor.              65 10/385,389.
   In certain situations, it is necessary to restrict an agent’s      See, Us. Pat. Nos. 4,048,452; 4,737,983, 4,757,529;
activity to answering calls or handling a particular type of        4,893,301; 4,953,204; 5,073,890; 5,278,898; 5,309,513;
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5,369,695, 5,506,898; 5,511,117, 5,519,773, 5,524,147,            Hypertext Markup Language (HTML) broWser based soft
5,590,188; 5,633,922, 5,633,924, 5,715,307, 5,740,240,            Ware “applet” to track auctions. For example, ONSALE
5,768,360; 5,825,869; 5,848,143; 5,870,464; 5,878,130;            .COM has made available a Marimba Castanet® applet
5,901,214, 5,905,792, 5,907,608; 5,910,982; 5,915,011,            called BidWatch to track auction progress for particular
5,917,903, 5,923,745, 5,926,539, 5,933,492, 5,940,496,            items or classes of items, and to facilitate bidding thereon.
5,940,947, 5,946,387; 5,953,332, 5,953,405, 5,956,397,            This system, hoWever, lacks real-time performance under
5,960,073, 5,963,632, 5,970,134, 5,978,465; 5,982,868;            many circumstances, having a stated refresh period of 10
5,987,116; 5,987,118; 5,991,391, 5,991,392, 5,991,395,            seconds, With a long latency for con?rmation of a bid, due
5,995,614; 5,995,615; 5,999,965; 6,002,760; 6,005,931,            to constraints on softWare execution, quality of service in
6,044,146; 6,058,435; 6,061,347, 6,064,667; 6,072,864;            communications streams, and bid con?rmation dialogue.
6,104,801; 6,115,462; 6,118,865; 6,122,358; 6,122,360,            Thus, it is possible to lose a bid even if an attempt Was made
6,122,364, 6,128,380; 6,134,530, 6,147,975; 6,157,655;            prior to another bidder. The need to quickly enter the bid, at
6,175,563, 6,175,564; 6,185,292; 6,223,165, 6,226,289;            risk of being too late, makes the process potentially error
6,229,888; 6,230,197, 6,233,332, 6,333,979, 6,333,980;            prone.
6,347,139; and Us. Patent Application Nos. 010000458 A1;             Proxy bidding, as discussed above, is a knoWn technique
0010024497 A1; 0020006191 A1; 0020009190 A1;                      for overcoming the constraints of Internet communications
0020019846 A1; and 0020021693 A1, each of Which is                and client processing limitations, since it bypasses the client
expressly incorporated herein by reference.                       and telecommunications links and may execute solely on the
                                                                  host system or local thereto. HoWever, proxy bidding under
Internet Auctions
                                                           20 mines some of the ef?ciencies gained by a live market.
   On-line electronic auction systems Which alloW ef?cient
                                                                    U.S. Pat. No. 5,890,138 to Godin, et al. (Mar. 30, 1999),
sales of products and services are Well knoWn, for example,       expressly incorporated herein by reference in its entirety,
EBAYCOM, ONSALECOM, UBID.COM, and the like.                       relates to an Internet auction system. The system implements
Inverse auctions that alloW ef?cient purchases of product are     a declining price auction process, removing a user from the
also knoWn, establishing a market price by competition 25 auction process once an indication to purchase has been
betWeen sellers. The Internet holds the promise of further
                                                          received. See, Rockolf, T. E., Groves, M.; “Design of an
improving ef?ciency of auctions by reducing transaction   Internet-based System for Remote Dutch Auctions”, Internet
costs and freeing the “same time-same place” limitations of    Research, v 5, n 4, pp. 10-16, MCB University Press, Jan. 1,
traditional auctions. This is especially appropriate Where the 1995.
goods may be adequately described by text or images, and 30      A knoWn computer site for auctioning a product on-line
thus a physical examination of the goods is not required       comprises at least one Web server computer designed for
prior to bidding.                                                 serving a host of computer browsers and providing the
  In existing Internet systems, the technological focus has     broWsers With the capability to participate in various auc
been in providing an auction system that, over the course of    tions, Where each auction is of a single product, at a speci?ed
hours to days, alloW a large number of simultaneous auc 35 time, With a speci?ed number of the product available for
tions, betWeen a large number of bidders to occur. These        sale. The Web server cooperates With a separate database
systems must be scalable and have high transaction through      computer, separated from the Web server computer by a
put, While assuring database consistency and overall system     ?reWall. The database computer is accessible to the Web
reliability. Even so, certain users may selectively exploit     computer server computer to alloW selective retrieval of
knoWn technological limitations and artifacts of the auction 40 product information, Which includes a product description,
system, including non-real time updating of bidding infor       the quantity of the product to be auctioned, a start price of
mation, especially in the ?nal stages of an auction.            the product, and an image of the product. The Web server
  Because of existing bandWidth and technological hurdles,        computer displays, updated during an auction, the current
Internet auctions are quite different from live auctions With price of the product, the quantity of the product remaining
respect to psychological factors. Live auctions are often 45 available for purchase and the measure of the time remain
monitored closely by bidders, Who strategically make bids,    ing in the auction. The current price is decreased in a
based not only on the “value” of the goods, but also on an    predetermined manner during the auction. Each user is
assessment of the competition, timing, psychology, and            provided With an input instructing the system to purchase the
progress of the auction. It is for this reason that so-called product at a displayed current price, transmitting an identi
proxy bidding, Wherein the bidder creates a preprogrammed 50 ?cation and required ?nancial authoriZation for the purchase
“strategy”, usually limited to a maximum price, are disfa     of the product, Which must be con?rmed Within a predeter
vored. A maximum price proxy bidding system is someWhat       mined time. In the knoWn system, a certain fall-out rate in
inef?cient, in that other bidders may test the proxy, seeking the actual purchase con?rmation may be assumed, and
to increase the bid price, Without actually intending to      therefore some overselling alloWed. Further, after a purchase
purchase, or contrarily, after testing the proxy, a bidder 55 is indicate, the user’s screen is not updated, obscuring the
might give up, even beloW a price he might have been          ultimate loWest selling price from the user. HoWever, if the
Willing to pay. Thus, the proxy imposes inef?ciency in the    user maintains a second broWser, he can continue to monitor
system that effectively increases the transaction cost.       the auction to determine Whether the product could have
   In order to address a ?urry of activity that often occurs at   been purchased at a loWer price, and if so, fail to con?rm the
the end of an auction, an auction may be held open until no 60    committed purchase and purchase the same goods at a loWer
further bids are cleared for a period of time, even if            price While reserving the goods to avoid risk of loss. Thus,
advertised to end at a certain time. This is common to both       the system is ?aWed, and may fail to produce an ef?cient
live and automated auctions. HoWever, this lack of deter     transaction or optimal price.
minism may upset coordinated schedules, thus impairing         An Internet declining price auction system may provide
ef?cient business use of the auction system.              65 the ability to track the price demand curve, providing
   In order to facilitate management of bids and bidding,    valuable marketing information. For example, in trying to
some of the Internet auction sites have provided non              determine the response at different prices, companies nor
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mally have to conduct market surveys. In contrast, With a         for the auctioneer and for the user. The auctioneer’s system
declining price auction, substantial information regarding        contains information from a user system based on bid
price and demand is immediately knoWn. The relationship           information entered by the user. With this information, the
betWeen participating bidders and average purchasers can          auctioneer’s system determines Whether the auction can be
then be applied to provide a conventional price demand            concluded or not and appropriate messages are transmitted.
curve for the particular product.                                 At any point in the auction, bidders are provided the
  U.S. Pat. No. 5,835,896, Fisher, et al., issued Nov. 10,        opportunity to submit not only their current bids, but also to
1998, expressly incorporated herein by reference in its           enter future bids, or bidding rules Which may have the
entirety, provides method and system for processing and           opportunity to become relevant at future times or prices, into
transmitting electronic auction information over the Internet,    the auction system’s database. Participants may revise their
betWeen a central transaction server system and remote            executory bids, by entering updated bids. Thus, at one
bidder terminals. Those bids are recorded by the system and       extreme, a bidder Who Wishes to economize on his time may
the bidders are updated With the current auction status           choose to enter his entire set of bidding rules into the
information. When appropriate, the system closes the auc          computerized system at the start of the auction, effectively
tion from further bidding and noti?es the Winning bidders         treating this as a sealed-bid auction. At the opposite extreme,
and losers as to the auction outcome. The transaction server      a bidder Who Wishes to closely participate in the auction may
posts information from a database describing a lot available      choose to constantly monitor the auction’s progress and to
for purchase, receives a plurality of bids, stored in a bid       submit all of his bids in real time. See also, U.S. patent
database, in response to the information, and automatically       application Ser. No. 08/582,901 ?led Jan. 4, 1996, Which
categorizes the bids as successful or unsuccessful. Each bid 20 provides a method for auctioning multiple, identical objects
is validated, and an electronic mail message is sent inform     and close substitutes.
ing the bidder of the bid status. This system employs HTTP,
and thus does not automatically update remote terminal        E-Commerce Systems
screens, requiring the e-mail noti?cation feature.              U.S. Pat. No. 5,946,669 (Polk, Aug. 31, 1999), expressly
   The auction rules may be ?exible, for example including 25 incorporated herein by reference, relates to a method and
Dutch-type auctions, for example by implementing a price          apparatus for payment processing using debit-based elec
markdoWn feature With scheduled price adjustments, and            tronic funds transfer and disbursement processing using
English-type (progressive) auctions, With price increases         addendum-based electronic data interchange. This disclo
corresponding to successively higher bids. In the Dutch type    sure describes a payment and disbursement system, Wherein
auction, the price markdoWn feature may be responsive to     30 an  initiator authorizes a payment and disbursement to a
bidding activity over time, amount of bids received, and        collector and the collector processes the payment and dis
number of items bid for. Likewise, in the progressive           bursement through an accumulator agency. The accumulator
auction, the aWard price may be dependent on the quantity       agency processes the payment as a debit-based transaction
desired, and typically implements a loWest successful bid       and   processes the disbursement as an addendum-based
price rule. Bids that are beloW a preset maximum posted 35 transaction. The processing of a debit-based transaction
selling price are maintained in reserve by the system. If a  generally occurs by electronic funds transfer (EFT) or by
certain sales volume is not achieved in a speci?ed period of ?nancial electronic data interchange (FEDI). The processing
time, the price is reduced to liquidate demand above the     of an addendum-based transaction generally occurs by elec
price point, With the neW price becoming the posted price.        tronic data interchange (EDI).
On the other hand, if a certain sales volume is exceeded in 40      U.S. Pat. No. 6,005,939 (Fortenberry, et al., Dec. 21,
a speci?ed period of time, the system may automatically           1999), expressly incorporated herein by reference, relates to
increase the price. These automatic price changes alloW the       a method and apparatus for storing an Internet user’ s identity
seller to respond quickly to market conditions While keeping      and access rights to World Wide Web resources. A method
the price of the merchandise as high as possible, to the      and apparatus for obtaining user information to conduct
seller’s bene?t. A “Proxy Bidding” feature alloWs a bidder 45 secure transactions on the Internet Without having to re-enter
to place a bid for the maximum amount they are Willing to     the information multiple times is described. The method and
pay, keeping this value a secret, displaying only the amount  apparatus can also provide a technique by Which secured
necessary to Win the item up to the amount of the currently   access to the data can be achieved over the Internet. A
high bids or proxy bids of other bidders. This feature alloWs passport containing user-de?ned information at various
bidders to participate in the electronic auction Without 50 security levels is stored in a secure server apparatus, or
revealing to the other bidders the extent to Which they are   passport agent, connected to computer netWork. A user
Willing to increase their bids, While maintaining control of  process instructs the passport agent to release all or portions
their maximum bid Without closely monitoring the bidding.     of the passport to a recipient node and forWards a key to the
The feature assures proxy bidders the loWest possible price   recipient node to unlock the passport information.
up to a speci?ed maximum Without requiring frequent 55           U.S. Pat. No. 6,016,484 (Williams, et al., Jan. 18, 2000),
inquiries as to the state of the bidding.                     expressly incorporated herein by reference, relates to a
   A “Floating Closing Time” feature may also be imple        system, method and apparatus for netWork electronic pay
mented Whereby the auction for a particular item is auto      ment instrument and certi?cation of payment and credit
matically closed if no neW bids are received Within a         collection utilizing a payment. An electronic monetary sys
predetermined time interval, assuming an increasing price 60 tem provides for transactions utilizing an electronic-mon
auction. Bidders thus have an incentive to place bids expe    etary system that emulates a Wallet or a purse that is
ditiously, rather than Waiting until near the anticipated close   customarily used for keeping money, credit cards and other
of the auction.                                                   forms of payment organized. Access to the instruments in
  U.S. Pat. No. 5,905,975, Ausubel, issued May 18, 1999,       the Wallet or purse is restricted by a passWord to avoid
expressly incorporated herein by reference in its entirety, 65 unauthorized payments. A certi?cate form must be com
relates to computer implemented methods and apparatus for         pleted in order to obtain an instrument. The certi?cate form
auctions. The proposed system provides intelligent systems        obtains the information necessary for creating a certi?cate
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granting authority to utilize an instrument, a payment holder         bank) in every transaction and are secure against overspend
and a complete electronic Wallet. Electronic approval results         ing, and “off-line” schemes Which do not require a third
in the generation of an electronic transaction to complete the        party and guarantee only that overspending is detected When
order. If a user selects a particular certi?cate, a particular        vendors submit their transaction records to the bank (usually
payment instrument holder Will be generated based on the              at the end of the day). A neW “hybrid” scheme is proposed
selected certi?cate. In addition, the issuing agent for the           Which combines the advantages of both “on-line” and “olf
certi?cate de?nes a default bitmap for the instrument asso            line” electronic payment schemes. It alloWs for control of
ciated With a particular certi?cate, and the default bitmap           overspending at a cost of only a modest increase in com
Will be displayed When the certi?cate de?nition is com                munication compared to the off-line schemes. The protocol
pleted. Finally, the number associated With a particular              is based on probabilistic polling. During each transaction,
certi?cate Will be utiliZed to determine if a particular party        With some small probability, the vendor forWards informa
can issue a certi?cate.
                                                                      tion about this transaction to the bank. This enables the bank
  US. Pat. No. 6,029,150 (KravitZ, Feb. 22, 2000),                    to maintain an accurate approximation of a customer’s
expressly incorporated herein by reference, relates to a              spending. The frequency of polling messages is related to
system and method of payment in an electronic payment                 the monetary value of transactions and the amount of
system Wherein a plurality of customers have accounts With            overspending the bank is Willing to risk. For transactions of
an agent. A customer obtains an authenticated quote from a            high monetary value, the cost of polling approaches that of
speci?c merchant, the quote including a speci?cation of  the on-line schemes, but for micropayments, the cost of
goods and a payment amount for those goods. The customer polling is a small increase over the tra?ic incurred by the
sends to the agent a single communication including a 20 off-line schemes.
request for payment of the payment amount to the speci?c
                                                            Micropayments are often preferred Where the amount of
merchant and a unique identi?cation of the customer. The
                                                         the transaction does not justify the costs of complete ?nan
agent issues to the customer an authenticated payment
advice based only on the single communication and secret
                                                                      cial security. In the micropayment scheme, typically a direct
                                                         communication betWeen creditor and debtor is not required;
shared betWeen the customer and the agent and status 25
                                                         rather, the transaction produces a result Which eventually
information, Which the agent knoWs about the merchant,   results in an economic transfer, but Which may remain
and/ or the customer. The customer forWards a portion of the
payment advice to the speci?c merchant. The speci?c mer
                                                                      outstanding subsequent to transfer of the underlying goods
                                                                      or services. The theory underlying this micropayment
chant provides the goods to the customer in response to
                                                                      scheme is that the monetary units are small enough such that
receiving the portion of the payment advice.                  30
                                                                 risks of failure in transaction closure is relatively insigni?
  US. Pat. No. 6,047,269 (Bi?‘ar, Apr. 4, 2000), expressly       cant for both parties, but that a user gets feW chances to
incorporated herein by reference, relates to a self-contained    default before credit is WithdraWn. On the other hand, the
payment system With creating and facilitating transfer of        transaction costs of a non-real time transactions of small
circulating digital vouchers representing value. A digital   monetary units are substantially less than those of secure,
voucher has an identifying element and a dynamic log. The 35 unlimited or potentially high value, real time veri?ed trans
identifying element includes information such as the trans
                                                             actions, alloWing and facilitating such types of commerce.
ferable value, a serial number and a digital signature. The  Thus, the rights management system may employ applets
dynamic log records the movement of the voucher through      local to the client system, Which communicate With other
the system and accordingly groWs over time. This alloWs the  applets and/or the server and/or a vendor/rights-holder to
system operator to not only reconcile the vouchers before 40 validate a transaction, at loW transactional costs.
redeeming them, but also to recreate the history of move
ment of a voucher should an irregularity like a duplicate                The following US. patents, expressly incorporated herein
voucher be detected. These vouchers are used Within a                 by reference, de?ne aspects of micropayment, digital cer
self-contained system including a large number of remote              ti?cate, and on-line payment systems: US. Pat. Nos. 5,930,
devices that are linked to a central system. The central 45           777; 5,857,023; 5,815,657; 5,793,868; 5,717,757; 5,666,
system can e linked to an external system. The external               416; 5,677,955; 5,839,119; 5,915,093; 5,937,394; 5,933,
system, as Well as the remote devices, is connected to the            498; 5,903,880; 5,903,651; 5,884,277; 5,960,083; 5,963,
central system by any one or a combination of netWorks. The           924; 5,996,076; 6,016,484; 6,018,724; 6,021,202; 6,035,
netWorks must be able to transport digital information, for           402; 6,049,786; 6,049,787; 6,058,381; 6,061,448; 5,987,
example the Internet, cellular netWorks, telecommunication 50 132; 6,057,872; and 6,061,665. See also, Rivest and Shamir,
netWorks, cable netWorks or proprietary netWorks. Vouchers    “PayWord and MicroMint: TWo Simple Micropayment
can also be transferred from one remote device to another     Schemes” (May 7, 1996); Micro PAYMENT transfer Pro
remote device. These remote devices can communicate           tocol (MPTP) Version 0.1 (22 Nov. 1995) et seq., http://
through a number of methods With each other. For example,             WWW.W3.org/pub/WWW/TR/WD-mptp; Common Markup
for a non-face-to-face transaction the Internet is a choice, for 55   for Web Micropayment Systems, http://WWW.W3.org/TR/
a face-to-face or close proximity transactions tone signals or        WD-Micropayment-Markup (9 Jun. 1999); “Distributing
light signals are likely methods. In addition, at the time of a       Intellectual Property: a Model of Microtransaction Based
transaction a digital receipt can be created Which Will               Upon Metadata and Digital Signatures”, Olivia, MauriZio,
facilitate a fast replacement of vouchers stored in a lost    http://olivia.modlang.denison.edu/~olivia/RFC/09/, all of
remote device.                                             60 Which  are expressly incorporated herein by reference.
                                                               See, 21150; 4,977,595, 5,237,159, 5,392,353, 5,511,121,
Micropayments                                                5,621,201; 5,623,547; 5,679,940; 5,696,908; 5,754,939,
   US. Pat. No. 5,999,919 (Jarecki, et al., Dec. 7, 1999),   5,768,385; 5,799,087; 5,812,668; 5,828,840; 5,832,089;
expressly incorporated herein by reference, relates to an    5,850,446; 5,889,862; 5,889,863; 5,898,154; 5,901,229,
ef?cient micropayment system. Existing softWare proposals 65 5,920,629; 5,926,548; 5,943,424, 5,949,045, 5,952,638;
for electronic payments can be divided into “on-line”        5,963,648; 5,978,840; 5,983,208; 5,987,140; 6,002,767;
schemes Which require participation of a trusted party (the  6,003,765; 6,021,399; 6,026,379; 6,029,150; 6,029,151;
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6,047,067; 6,047,887; 6,055,508; 6,065,675; and 6,072,870,     4,768,221; 4,677,663; and 4,286,118, each of Which is
each of Which is expressly incorporated herein by reference.   expressly incorporated herein by reference.
  See, Game Theory references cited in Us. patent appli
cation Ser. No. 10/385,389.                                             SUMMARY AND OBJECTS OF THE
   See also, U.S. Pat. Nos. 6,243,684; 6,230,197; 6,229,888;                    INVENTION
6,226,360; 6,226,287; 6,212,178; 6,208,970; 6,205,207;
6,201,950; 6,192,413; 6,192,121; 6,185,283; 6,178,240;       The summary description of the invention herein provides
6,173,052; 6,170,011; RE37,001; 6,157,711; 6,154,535;     disclosure of a number of embodiments of the invention.
6,154,528; 6,151,387; 6,148,065; 6,144,737; 6,137,870;    Language describing one embodiment or set of embodi
6,137,862; 6,134,530; 6,130,937; 6,128,376; 6,125,178;    ments is not intended to, and does not, limit or constrain the
6,122,484; 6,122,364; 6,122,358; 6,115,693; 6,102,970;    scope of other embodiments of the invention.
6,098,069; 6,097,806; 6,084,943; 6,070,142; 6,067,348;       The present invention provides a system and method for
6,064,973; 6,064,731; 6,064,730; 6,058,435; 6,055,307;    intelligent communication routing Within a loW-level com
6,052,453; 6,049,599; 6,044,368; 6,044,149; 6,044,135;    munication server system. Therefore, it alloWs replacement
6,041,118; 6,041,116; 6,035,021; 6,031,899; 6,026,156;    or supplementation of telephone numbers, IP addresses,
6,026,149; 6,021,428; 6,021,190; 6,021,114; 6,018,579;    e-mail addresses and the like, to identify targets accessible
6,016,344; 6,014,439; 6,011,845; 6,009,149; 6,005,928;    by the system With high-level de?nitions, Which are con
6,005,534; 6,002,760; 5,995,948; RE36,416; 5,991,761;     textually interpreted at the time of communications routing,
5,991,604; 5,991,393; 5,987,116; 5,987,115; 5,982,857;    to appropriately direct the communication. Therefore, the
5,978,471; 5,978,467; 5,978,465; 5,974,135; 5,974,120; 20 target of a communication is de?ned by an algorithm, rather
5,970,132; 5,966,429; 5,963,635; 5,956,392; 5,949,863;    than a predetermined address or simple rule, and the algo
5,949,854; 5,949,852; 5,946,394; 5,946,388; 5,943,403;    rithm evaluated in real time for resolution of the target, to
5,940,813; 5,940,497; 5,940,493; 5,937,390; 5,937,055;    deliver the communication or establish a real or virtual
5,933,480; 5,930,339; 5,926,528; 5,924,016; 5,923,746;    channel.
5,918,213; 5,917,893; 5,914,951; 5,913,195; 5,912,947; 25 Altemately, the intelligence of the server may be used to
5,907,601; 5,905,979; 5,903,641; 5,901,209; 5,898,762;    implement telephony or computer-telephony integration fea
5,898,759; 5,896,446; 5,894,505; 5,893,902; 5,878,126;    tures, other than destination or target.
5,872,833; 5,867,572; 5,867,564; 5,867,559; 5,857,013;       Therefore, according to the present invention, communi
5,854,832; 5,850,428; 5,848,143; 5,841,852; 5,838,779;    cations are, or may be, routed or other telecommunications
5,838,772; 5,835,572; 5,828,734; 5,828,731; 5,825,869; 30 features implemented, inferentially or intelligently, at a
5,822,410; 5,822,401; 5,822,400; 5,815,566; 5,815,554;    relatively loW level Within the communications management
5,815,551; 5,812,642; 5,806,071; 5,799,077; 5,796,816;    architecture. For example, in a call center, the software
5,796,791; 5,793,846; 5,787,159; 5,787,156; 5,774,537;    system Which handles virtual or real circuit sWitching and
5,768,355; 5,761,285; 5,748,711; 5,742,675; 5,740,233;    management resolves the destination using an algorithm or
RE35,758; 5,729,600; 5,727,154; 5,724,418; 5,717,741; 35 the like, rather than an unambiguous target.
5,703,935; 5,701,295; 5,699,418; 5,696,818; 5,696,809;       An embodiment according to the present invention, the
5,692,034; 5,692,033; 5,687,225; 5,684,863; 5,675,637;    control over sWitching in a circuit sWitch is partitioned
5,661,283; 5,657,074; 5,655,014; 5,655,013; 5,652,788;    together With intelligent functions.
5,646,988; 5,646,986; 5,638,436; 5,636,268; 5,636,267;       Intelligent functions include, for example, but are not
5,633,917; 5,625,682; 5,625,676; 5,619,557; 5,610,978; 40 limited to, optimiZations, arti?cial neural network imple
5,610,774; 5,600,710; 5,594,791; 5,594,790; 5,592,543;    mentation, probabilistic and stochastic process calculations,
5,590,171; 5,588,049; 5,586,179; 5,581,607; 5,581,604;    fuZZy logic, Baysian logic and hierachal Markov models
5,581,602; 5,579,383; 5,579,377; 5,577,112; 5,574,784;    (HMMs), or the like.
5,572,586; 5,572,576; 5,570,419; 5,568,540; 5,561,711;       A particularly preferred embodiment provides a skill
5,559,878; 5,559,867; 5,557,668; 5,555,295; 5,555,290; 45 based call automatic call director for routing an incoming
5,546,456; 5,546,452; 5,544,232; 5,544,220; 5,537,470;    call in a call center to an appropriate or optimal agent. While
5,535,257; 5,533,109; 5,533,107; 5,533,103; 5,530,931;    skill-based routing technologies are knoWn in the art, the
5,528,666; 5,526,417; 5,524,140; 5,519,773; 5,517,566;    intelligence for routing the call is separate from the voice
5,515,421; 5,511,112; 5,506,898; 5,502,762; 5,495,528;    routing call management system. Thus, the prior art provides
5,495,523; 5,493,690; 5,485,506; 5,481,596; 5,479,501; 50 a separate and distinct process, and generally a separate
5,479,487; 5,467,391; 5,465,286; 5,459,781; 5,448,631;    system or partition of a system, for evaluation of the skill
5,448,624; 5,442,693; 5,436,967; 5,434,906; 5,432,835;    based routing functionality. For example, While the loW level
5,430,792; 5,425,093; 5,420,919; 5,420,852; 5,402,474;    voice channel sWitching is performed in a PBX, the high
5,400,393; 5,390,236; 5,381,470; 5,365,575; 5,359,645;    level policy management is often performed in a separate
5,351,285; 5,341,414; 5,341,412; 5,333,190; 5,329,579; 55 computer system, linked to the PBX through a packet
5,327,490; 5,321,745; 5,319,703; 5,313,516; 5,311,577;    sWitched netWork and/or bus data link.
5,311,574; 5,309,505; 5,309,504; 5,297,195; 5,297,146;       The present invention, hoWever, integrates evaluation of
5,289,530; 5,283,818; 5,276,732; 5,253,289; 5,251,252;    intelligent aspects of the control algorithm With the com
5,239,574; 5,224,153; 5,218,635; 5,214,688; 5,185,786;    munications management. This integration therefore alloWs
5,168,517; 5,166,974; 5,164,981; 5,163,087; 5,163,083; 60 communications to be established based on an inferential
5,161,181; 5,128,984; 5,121,422; 5,103,449; 5,097,528;    description of a target, rather than a concrete description,
5,081,711; 5,077,789; 5,073,929; 5,070,526; 5,070,525;    and alloWs a plurality of considerations to be applied, rather
5,063,522; 5,048,075; 5,040,208; 5,020,097; 5,020,095;    than a single unambiguous decision rule.
5,016,270; 5,014,298; 5,007,078; 5,007,000; 4,998,272;       An aspect of the present invention therefore proposes an
4,987,587; 4,979,171; 4,975,841; 4,958,371; 4,941,168; 65 architectural change in the computer telephony integrated
4,935,956; 4,933,964; 4,930,150; 4,924,501; 4,894,857;    (CTI) systems, Wherein the CTI host takes on greater
4,878,243; 4,866,754; 4,852,149; 4,807,279; 4,797,911;    responsibilities, for example intelligent tasks, than in knoWn
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systems. In this case, the host is, for example, a PC server         First, a set of skills are de?ned, Which are generally
having a main processor, for example one or more Intel             independent skills, although high cross correlations betWeen
Pentium 4 Xeon or AMD Athlon MP processors, and one or             skills Would not defeat the utility thereof. The skill de?ni
more voice channel processors, such as Dialogic D/320-PCI          tions may be quite persistent, for example over a particular
or D/l60SC/LS, or PrimeNet MM PCI, or the like. In this            campaign, call center, or even multiple call centers and
type of system, the voice channel processor handles con            multiple campaigns. The skills generally are not subject to
nections and switching, but does not implement control. The        change after being de?ned, although through advanced
control information is provided by the main processor over,        processing or reprocessing of data, clusters in multidimen
for example, a PCI bus, although some or all control               sional space may be de?ned or revised, representing “skills”.
information may also be relayed over a meZZanine bus.              LikeWise, a manual process may be employed to de?ne the
Because the actual voice channel processing is o?loaded            skill set.
from the main processor, real time response With respect to          Next, for any given task, the skills are Weighted. That is,
voice information is not required. Therefore, the main pro         the importance of any skill With respect to the task is de?ned
cessor may operate and be controlled by a standard operat          or predicted. This may also be a manual or automated
ing system, in contrast to a real time operating system. While     process. In the case of an automated process for Weighting
the control processor does operate under certain latency           the skills, past tasks similar in nature are analyZed to
constraints, these are quite long as compared to the response      determine Which skills Were involved, and to What extent.
latency required of the voice channel processors. This, in       Typically, since the skill set de?nitions are normative, the
turn, alloWs the main processor(s) to undertake a plurality of   task-skill relationships are derived from data for various or
tasks Which are not deterministic, that is, the time required 20 all agents, and need not be limited to the data pertaining to
to complete processing of a task is unknoWn and is not           a single or respective agent. The Weighting may be adaptive,
necessarily completed Within a time WindoW. However, by            that is, the Weighting need not be invariant, and may change
using state of the art processors, such as a 3.06 GHZ Pentium      over time based on a number of factors. The Weightings may
processor, the amount of processing Which may be under    also be time dependent, for example folloWing a diurnal
taken, meeting a reasonable expectation of processing 25 variation.
latency, is substantial. Thus, operating under the same      Each agent is assigned a metric With respect to each skill.
instance of the operating system, for example sharing the This process may be manual or automated, hoWever, a
same message queue, as the interface betWeen the main              number of advantages accrue from an automated analysis of
processor and the voice channel processor(s), the system   agent skill level. Typically, an initial skill level Will be
according to the present invention may process advanced 30 assigned manually or as a result of an off-line assessment. As
and complex algorithms for implementing intelligent con    the agent is presented With tasks, the pro?ciency of the agent
trol. This architecture reduces the required bandwidth for is analyzed, and the results used to de?ne skill-speci?c
communications With an external high level management      metrics. As stated above, since the skill de?nitions are
system, as Well as the processing load thereon. Likewise,       normative, the skills of one agent are compared or compa
since signi?cant decisions and resource allocations are made 35 rable to skills of others. For example, the skill sets are
Within the sWitching system, the need for high quality of    assigned using a multivariate analysis technique, based on
service communications channels betWeen the sWitching        analysis of a plurality of transactions, predicting the best set
system and management system is also reduced.                of skills consistent With the results achieved. In this analysis,
   Preferably, the intelligent algorithm for controlling the each skill metric may be associated With a reliability indicia;
voice channels requires minimal access to a disk or mass 40 that is, in some instances, Where the outcome of clearly
storage based database. That is, for any transaction to be   determinable, and a skill as de?ned is highly correlated With
processed, preferably either all information is available to the outcome, the reliability of the determined skill value for
the main processor at the commencement of the process, or    a statistically signi?cant sample siZe is high. On the other
an initial request is made at commencement of the process,   hand, Where a particular skill is relatively unrelated to the
With no additional requests necessary to complete the pro 45 tasks included Within the data analysis set, that is, the
cess, although a stored database may be updated at the       outcome factor is relatively uncorrelated With the value of
conclusion of the process. For example, as a call is received, the skill, the reliability of a determination of an agent skill
sufficient information is gathered to de?ne the caller, either Will be loW.
by identity or characteristics. This de?nition may then           A related issue relates to inferring an agent skill level for
trigger an initial database lookup, for example to recall a 50 a skill parameter Where little or no data is available. For this
user transaction ?le or a user pro?le. Preferably, therefore, a    task, collaborative ?ltering may be appropriate. A collabo
table or other data structure is stored in loW-latency memory,     rative ?lter seeks to infer characteristics of a person based on
for example, double data rate dynamic random access             the characteristics of others having similar associated
memory (DDR-RAM), Which holds the principal parameters          parameters for other factors. See references cited and incor
and information necessary for execution of the algorithm. 55 porated by reference above. In this case, there is only a small
Therefore, preferably agent and system status information is    analytic difference betWeen a parameter for Which data is
present and maintained locally, and need not be recalled for    available from a respective agent, but yields an unreliable
each transaction.                                               measurement, and a parameter for Which data is unavailable,
  According to a preferred embodiment of the invention, a       but can be inferred With some reliability. Therefore, the skill
process is provided for optimiZing the selection of an agent 60 determining process may employ both techniques in a
Within the voice channel sWitching system. This process is      composite; as more data becomes available relating to an
a multi step process. Only the later part of the process        actual skill level of an agent With respect to a skill parameter,
generally need be completed in a time-critical fashion, e.g.,   reliance on inferred skill levels is reduced. It is therefore an
as a foreground task. The initial part(s) of the process may       aspect of one embodiment of the invention that a collabo
be implemented over an extended period of time, so long as 65      rative ?lter is used to infer agent skill levels Where speci?c
the data available for transactions is su?icient current to        data is unavailable. It is also an aspect of an embodiment of
avoid signi?cant errors.                                           the invention that in addition to a skill level metric, a
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reliability estimate for the measurement of the skill level             cally de?ned and submitted on behalf of an agent. The bid
metric is also made available.                                          may be de?ned based on an economic or other criteria.
   It is noted that in de?ning a desired agent pro?le for a               The optimization of agent selection may also be in?u
task, the skill metrics themselves are subject to unreliability.        enced by other factors, such as training opportunities. There
That is, the target skill levels themselves are but an estimate         fore, in determining a cost bene?t of selection of a particular
or prediction of the actual skills required. Therefore, it is           agent, a training cost/bene?t may also be included.
also possible to estimate the reliability of the target skill             Thus, according to a simplistic analysis, the agent With the
level deemed desired. Where the target skill level is loW or            highest score is selected. This is, indeed an “optimum”
its estimate unreliable, tWo separate and distinct parameters,          condition, assuming that there is uniform incremental co st in
the selected agent may also have a loW or unreliably                    selecting each agent, and that the system remains static as a
determined skill level for that attribute. On the other hand,           result of the selection. On the other hand, if agent costs
Where a skill is reliably determined to be high, the agent skill        dilfer, or the system status is materially altered on the basis
pro?le should also be high and reliably determined.                     of the selection, or there are extrinsic factors, such as
  In other instances, the metric of skill does not represent a          training, then the optimum may also differ.
quantitative metric, but rather a qualitative continuum. For              A number of factors may also in?uence optimality of
example, the optimal speech cadence for each customer may               selection. While most are merely business-based consider
differ. The metric, in this case, represents a speech cadence           ations, some may be politically incorrect (bad public policy),
parameter for an agent. The idea is not to maximize the         or even illegal. For example, an optimization may take into
parameter, but rather to optimize it. Therefore, reliability in account discrimination on an illegal basis, resulting in harm
this instance does not equate to a reduction in estimated 20 to either callers or agents Within a protected class. That is,
magnitude. It is also noted that a further ancillary parameter          a traditionally discriminated-against minority may be sub
may be applied for each skill, that is, tolerance to mismatch.          jected to automated and institutionalized discrimination as a
For example, While call received by a call center, for                  result of an algorithm Which favors a discriminatory out
technical support, may seek an agent Who is more knoWl                  come. In fact, the discriminatory outcome may be both
edgeable than the caller is With respect to the problem, but 25 ef?cient and optimal, under an economic or game theory
not one Who is so far advanced that a communication gap         analysis. HoWever, this may be undesired. One Way to
Would be apparent. Thus, an optimum skill parameter as Well     counteract this is to estimate the discriminatory impact of
as a range is de?ned. In like manner, other descriptors of a            the algorithm as a Whole and apply a global antidiscrimi
statistical function or distribution may be employed, for               natory factor. While this has the effect of correcting the
example, kurtosis and skeW.                                        30   situation on an overall level, it results in signi?cant inef?
  It is noted that there are a number of Ways of scoring                ciencies, and may result in a redistribution in an “unfair”
outcome of a call, and indeed, a number of parallel scoring     manner. Further, the antidiscriminatory factor is itself a form
systems may be employed, although they should be consis         of discrimination.
tently applied; that is, if an agent is selected for handling a    Another method for approaching this problem is to ana
call based on one paradigm, care should be employed in 35 lyze the pro?le or skill vectors a the presumably discrimi
scoring the agent or the call outcome using a different         nated-against agent or customer classes, and compare this to
paradigm. Such cross analyses, hoWever, may be useful in        the corresponding vectors of non-discriminated-against
determining an optimum outcome analysis technique.              class of agents or customers. Assuming that discrimination
  When a neW matter is to be assigned to an agent, the pool             occurs on a class basis, then, a corrective factor may be used
of agents are analyzed to determine, based on the prede?ned 40 to normalize components of the vector to eliminate the
skills, Which is the best agent. Selecting the best agent for a discriminatory effect.
task is dependent on a method of scoring outcome, as               A further method of remediating the perceived discrimi
discussed above. In some instances, there is a relatively       nation is through training. In this case, the presumably
simple process. For example, agents entrusted to sell a single  objective outcome determinations are not adjusted, nor is the
product can be scored based on number of units sold per unit 45 “economic” model for optimal agent selection disturbed.
time, or the time it takes to close a sale. HoWever, Where      Instead, a mismatch of the skill pro?le of an agent With the
different products are for sale, optimization may look at       caller is used as an opportunity to modify behavior (pre
different parameters, such as call duration, revenues per call  sumably of the agent), such that the de?ciency is corrected.
or unit time, pro?t per call or unit time, or the like. As the     For example, a call center agent may have a characteris
variety of options for a user groWs, so does the theoretical 50 tically ethnic accent. In one case, the agent accent may be
issues involved in scoring an agent.                               matched With a corresponding caller accent, assuming that
   It is also possible for agents to engage in an auction; that    data shoWs this to be optimum. HoWever, assuming that
is, agents bid for a caller. In this case, an agent must be        vocal ethnicity relates to socioeconomic status, the result
su?iciently competent to handle the call based on the infor        may be that the value of the transaction (or other score
mation available, and agents With skills far in excess of those 55 value) is associated With this status. The goal Would there
required may be excluded from the bidder pool. For                 fore be for the agent to retrain his or her accent, and indeed
example, agents may be compensated on a commission                 use a different accent based on an inferred optimal for the
basis. The bidding may involve an agent bidding a commis           caller, or to overcome this impediment by scoring Well in
sion rate (up to the maximum alloWed). In this Way, the            transactions involving those other than a “corresponding”
employer gets the bene?t of competition betWeen agents. 60 accent. Each of these is subject to modi?cation through
The bid, in this instance, may be a manual process entered         agent training.
into by the agent as a prior call is being concluded.                 Therefore, it is apparent that the optimization may be
   The bid may also be automatically generated at an agent         in?uenced by economic and non-economic factors, and the
station, based on both objective and subjective factors. See,      optimization may include objective and subjective factors.
US. Provisional Patent Application No. 60/445,346 (Steven 65          The system may also intelligently analyze and control
M. Ho?berg, inventor), ?led Feb. 4, 2003, expressly incor          other aspects of telecommunications besides call routing.
porated herein by reference. That is, a bid may be automati        For example, it is particularly advantageous to characterize
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the caller, especially While the call is in the queue. However,      Wherein Ac”l and Ac”2 are agent cost factors for agent n.
increasing the amount of information Which must be com             To determine the anticipated cost, one might, for example,
municated betWeen the sWitch control and a high-level              divide the daily salary by the average number of calls per
system is undesirable, thus limiting the ability to extract        day handled by the agent. This, hoWever, fails to account for
loW-level information from the caller. Such information may        the fact that the average length of a call may vary based on
include preferred language, a voice stress analysis, Word          the type of call, Which is information presumed available,
cadence, accent, sex, the nature of the call (IVR and/or           since the skill set requirements are also based on a classi
speech recognition), personality type, etc. In fact, much of       ?cation of the type of call. Further, an agent highly skilled
this information may be obtained through interaction and/or        in some areas may be relatively unskilled in others, making
analysis of the caller during the queue period. Further, in        an average call duration or average productivity quite mis
some instances, it may be possible to resolve the caller’s         leading. Another cost to be considered is training cost. Since
issues Without ever connecting to an agent, or at least to         this is generally considered desirable, the actual value may
determine Whether a personal or automated resolution is            be negative, i.e., an unskilled trainee may be selected over
preferred. According to an aspect of the invention, the            a highly skilled agent, for a given call, even though the
sWitch itself may control and analyZe the interaction With the     simple incremental agent costs might tend toWard a different
caller. Advantageously, the sWitch may further perform a           result. LikeWise, selection of an agent for a certain call may
sensitivity analysis to determine Which factors relating to thebe considered a reWard or a punishment for good or bad
call are most useful With respect to selecting an appropriate  performance, and this may also be allocated a cost function.
agent, and more particularly by limiting this analysis to the  The key here is that all of these disparate factors are
agents Within the pool Which are likely to be available. 20 normaliZed into a common metric, “cost”, Which is then
Further information characterizing the user may also be        subject to numeric analysis. Finally, the optimiZation may
gathered to construct a more detailed user pro?le.             itself evolve the skill sets and cost function, for example
   It is noted that, in some cases, a caller prefers to remain through training and reWard/punishment.
passive in the queue, While in other instances, the caller           The cost of the “connection” betWeen a caller and an
Would prefer to actively assist in optimiZing the experience. 25 agent may also be considered, for example in a multi
This does not necessarily correlate With a universal caller        location call center, or Where agents are compensated on a
pro?le, nor the optimal selection of agent. This can be            per-call basis.
quickly ascertained, for example through IVR.                        Another factor to be considered in many cases is antici
  It is noted that an ef?cient analysis performed by the     pated outcome. In some instances, the outcome is irrelevant,
sWitch may differ from an efficient analysis performed or 30 and therefore productivity alone is the criterion. On the other
controlled by a high level system. For example, a high level       hand, in many cases, the agents serve a business purpose,
system may employ speech recognition technology for each           and call outcomes may be graded in terms of achieving
caller in a queue. The sWitch, on the other hand, Would likely     business goals. In many instances, the business goal is
not be able to implement speech recognition for each caller        simple an economic parameter, such as sales volume, pro?t,
in a large queue internally. Further, since the pro?le of the 35 or the like, and may be directly computed Within a cost
caller and the correspondence thereof to the agent skill         function normaliZed in economic units. On the other hand,
pro?le, as Well as the correlation to the outcome, is depen       some business goals, such as customer satisfaction, must be
dent on the selection of characteristics for analysis and         converted and normaliZed into economic terms prior to use
outcome metric, the parameters of each, according to the          in an optimiZation. In any case, the expected outcome
present invention, Will also likely dilfer.                    40 resulting from a particular agent may be added as a factor in

   Returning noW to the problem of routing a call using an        the cost function.
intelligent sWitch, the condition of optimality in the case of       Another factor to consider in making a selection of an
equal incremental cost, a stationary system condition as a     agent in a multi-skill call center is the availability of agents
result of the selection, and scalar skill parameters having a  for other calls, predicted or actual. Thus, While a selection of
magnitude correlated to value, is denoted by the formula: 45 an agent for one matter may be optimal in a narroW context,
                                                               the selected agent might be more valuable for another
      AnIMaXE (rsl-ansi)                                       matter. Even if the other matter is predicted or statistical, in
   Which denotes that Agent “n” is selected by maximiZing      some instances it is preferred to assign more specialiZed
the sum, for each of the required skills si, of the product of agents to matters that they can handle, rather than assigning
Weighting for that skill rsi, and the score for agent n as. 50 multitalented agents.
   As stated above, this optimiZation makes tWo very impor        This is represented as folloWs:
tant, and not alWays applicable assumptions. First, more
highly skilled agents often earn higher salaries. While, once
                                                                     Wherein Bc represents a term for the anticipated change
scheduled, presumably the direct cost is ?xed, over the long
                                                               55 in value of agent n as a result of the selection, Cc represents
term, the pool of agents must be adjusted to the require
                                                                  a term Which indicates the anticipated value of the transac
ments, and therefore the selection of an “expensive” agent
leads to increased costs. On the other hand, by preferentially    tion resulting from the selection of agent n, and Dc repre
                                                                  sents the opportunity cost for allocating agent n to the
selecting the skilled agent over the unskilled agent, the job
experience for the skilled agent may be diminished, leading        particular call.
to agent retention problems. LikeWise, the unskilled agent is         In the case of competing requests for allocation, a slightly
not necessarily presented With opportunities for live train        different formulation of the problem may be stated. In that
ing. Thus, it is seen that the agent cost may therefore be a       case, one might compare all of the cost functions for the
signi?cant variable.                                           matters in the queue With respect to each permissible pairing
                                                               of agent and matter. Instead of selecting an optimal agent for
   The formula is therefore modi?ed With a cost function as
                                                            65 a given matter, the system selects an optimal pairing of
folloWs:
                                                               respective multiple agents With multiple matters. In the case
                                                                   of a call center, often the caller hold time is considered a
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basic criterion for selection. In order to Weight this factor, for   conditions change, for example, further calls are added to
example, the cost function includes an allocation for caller         the queue, or calls are completed, the optimizations may be
hold time, and possibly a non-linear function is applied.            recomputed.
Thus, a caller may be taken out of order for paring With an             For example, in a call center With 500 agents, each
optimal agent.                                                       classi?ed With respect to 32 skills, With an average of 2000
  In some cases, the variance of a parameter is also con             calls in the queue, With about 50 agents available or antici
sidered, in addition to its mean value. More generally, each         pated to be available at any given time, the computational
parameter may itself be a vector, representing different             complexity for each optimization is on the order of l60><l06
aspects.                                                             (2000><50><50><32) multiplies, generally of 8 bit length. A 2
  It is noted that the various factors used in the system may        GHz Pentium 4 processor, for example, is capable of theo
be adaptive, that is, the predicted values and actual values         retical performance of about 2400 MFLOPS. Using a sim
are compared, and the formula or variables adjusted in a             pli?ed calculation, this means that less than about 10% of
manner Which is expected to improve the accuracy of the              the raW capacity of this processor Would be required, and
prediction. Since outcome is generally measured in the same          more poWerful processors are being introduced regularly.
metric as the cost function, the actual cost is stored along         For example, a 3.06 GHz Pentium 4 processor With “hyper
With the conditions of the predictive algorithm, and the             threading” has recently been introduced. In fact, in real
parameters updated according to a particular paradigm, for           World situations, the processor Would likely not be able to
example an arti?cial neural netWork or the like. Typically,          achieve its benchmark performance, but it is seen that a
there Will be insufficient data points With respect to a system      single modern processor can handle, in near real time, the
considered static to perform an algebraic optimization.        20 required processing. Coprocessing systems are available
   The present invention provides cost function optimization      Which increased the processing capability, especially With
capabilities at a relatively loW level Within the call routing    respect to independent tasks, While alloWing all processes to
system. Thus, for example, prior systems provide relatively       be coordinated under a single operating system. For
high level softWare, operating on massive customer relations      example, Microsoft WindoWs and Linux both support mul
management (CRM) database systems, to seek optimization. 25 tiprocessing environments, in case increased processing
   On the other hand, according to the present invention, the     capacity is required.
parameters are supplied in advance, generally in a batch             On the other hand, if a high level CRM system is
format, to the loW level routing and computer integrated          interrupted to process each call event to globally reoptimize
telephony (CTI) softWare, Which computes the cost func            agent selection, and communicate this With the CTI soft
tions. Call outcome data is generally available during and 30 Ware, a signi?cant communication and transaction burden
after a call to the high level softWare, Which can then set or       Would be encountered.
adjust values as necessary for the future.                              Thus, the present invention proposes that the skill-based
   It is noted that, generally, the architecture according to the    call routing algorithm be executed in conjunction With the
present invention Would not generally provide agent sched        loW level CTI process, as an integral part of the call routing
uling information, since this represents a task separate from 35 function. LikeWise, other call-process related algorithms
the call routing functions. Therefore, knoWn systems Which       may be implemented, in addition to or instead of a call
integrate both tasks are typically distinguished from the        routing calculation.
present invention. HoWever, it Would be possible as a              Advantageously, for example in many non-adaptive sys
separate process for this to be performed on the telephony       tems, no high level CRM system is required, and the entire
server according to the present invention. More generally, 40 skill-based routing functionality may be implemented in the
the updating of agent skill tables or a database, and agent      CTI system, saving signi?cant hardWare expense and soft
scheduling and call center management, are performed on       Ware complexity. Thus, Where the cost function is relatively
high level systems Which are discrete from the telephony      simple to calculate, the skills required for the call and the
server. These systems typically access large databases, gen   skills of each respective agent Well knoWn and relatively
erate reports, and integrate many different functions inde 45 constant, a simple database may be provided for the CTI
pendent of the communications functions.                      platform to route calls intelligently.
   The advantage of a preferred architecture according to the    Another aspect of the invention provides optimization of
present invention is that When a call is received, it can be  communications management based on adaptive param
routed in real time, rather than after a possibly signi?cant  eters, e.g., not only on the existing skills of the respective
delay. Further, this data processing partition reduces data 50 agents, but rather also based on an anticipated or predicted
communications bandWidth requirements and reduces trans       change in the agent’s skills as a result of handling the call.
actional load on the CRM system. In addition, this archi      LikeWise, When considering an overall cost function for
tectural partition reduces the need for the CRM system to be  optimizing call directing, any variety of factors may be
involved in loW level call management, and reduces the need   considered Within its context. Therefore, it an another object
for the CTI softWare to continually interact With the high 55 to provide a consolidated cost function for communications
level CRM softWare. This, in turn, potentially alloWs use of  management, Wherein pertinent factors or parameters are or
simple architecture CTI platforms using standard operating    may be expressed in common terms, alloWing uni?ed con
systems.                                                      sideration. According to a preferred embodiment of the
   According to a preferred embodiment, the matter skill      invention, this is handled at a loW level Within the commu
requirements, agent skill data, and other parameters, are 60 nications management system, although various aspects may
provided to the CTI softWare, for example as anASCII table.   be handled in real time or otherWise at various levels of the
The CTI softWare may, for example, invoke a subprocess for    communications management system.
each call received or in the queue, to determine the then              In the case of real time communications, such as tradi
optimum agent selection, for a local optimization, i.e., a      tional voice telephony, the sWitching must by de?nition
selection of the optimal agent Without regard for the effect 65 occur in real time, so must the resolution of the parties to the
of this selection on other concurrent optimizations. In order   communication. Therefore, another aspect of the invention
to globally optimize, the processing is preferably unitary. As       involves communications and coordination in real time of
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